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 4                              UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
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     RASONDO MEEKS EL,
 7                                                            Case No. 2:24-cv-01015-JAD-NJK
            Petitioner(s),
 8                                                                         Order
     v.
 9                                                                    [Docket No. 1-1]
     DISTRICT COURT CLARK COUNTY, et
10   al.,
11          Defendant(s).
12         Plaintiff is proceeding in this action pro se and submitted a complaint. Docket No. 1-1.
13 Plaintiff has not, however, paid the required filing fee or requested authority pursuant to 28 U.S.C.
14 § 1915 to proceed in forma pauperis. To proceed with this case, Plaintiff must either pay the filing
15 fee or file an application to proceed in forma pauperis.
16         Accordingly, IT IS ORDERED:
17         1.      Plaintiff must either make the necessary arrangements to pay the filing fee,
18 accompanied by a copy of this order, or file a complete application to proceed in forma pauperis.
19         2.      The Clerk of the Court shall send Plaintiff the short form application to proceed in
20 forma pauperis by a non-prisoner.
21         Plaintiff must comply with this order no later than June 28, 2024. Failure to comply will
22 result in a recommendation to the District Judge that this case be dismissed.
23         IT IS SO ORDERED.
24         Dated: May 31, 2024
25                                                               ______________________________
                                                                 Nancy J. Koppe
26                                                               United States Magistrate Judge
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